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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:05CR3116
           v.                       )
                                    )
URIEL HERNANDEZ RUIZ,               )
                                    )           MEMORANDUM AND ORDER
                Defendant.          )
                                    )



     Because the defendant has filed an amended motion for
pretrial release, proposing the defendant be released on all
conditions as I included in the order orginally granting that
motion, except the posting of a $20,000 compliance and appearance
bond.   In reviewing the defendant’s proposal and ordering his
release, I concluded that a substantial bond would be necessary
to reasonably assure his appearance.         Defendant’s amended motion
says he cannot raise money or post property for a bond, thus
raising the prohibition of 18 U.S.C § 3142(c)(2).              Therefore, I
must reexamine the matter.      I shall set it for hearing, at which
time I will want to hear about what, if anything, can be posted
to secure his release, and the source of that money and/or
property, or alternatively, what other conditions of release can
be proposed as a reasonable substitute.


     IT THEREFORE HEREBY IS ORDERED,

     Defendant’s amended motion for pretrial release, filing 26,
shall be called for hearing before the undersigned at the
conclusion of the hearing on the motion to suppress, set to
commence at 2:30 p.m. December 19, 2005. Should the hearing on
the motion for release not conclude at that time, it will again
be called for hearing before me on Tuesday, December 20, 2005 at
8:45 a.m. or as soon thereafter as it can be arranged following
the Central Violations Bureau hearings now set to commence at
8:30 a.m. that day.
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    DATED this 15th day of December, 2005.

                                   BY THE COURT:


                                   s/ David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
